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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

        Plaintiff,
                                                            Case No. 1:25-cv-11472-ADB
                        v.

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

        Defendants.



                   [PROPOSED] ORDER GRANTING PLAINTIFF’S
                 MOTION FOR A TEMPORARY RESTRAINING ORDER

       The Court hereby grants Plaintiff’s Motion and enters a temporary restraining order

pursuant to Fed. R. Civ. P. 65(b) against Defendants Department of Homeland Security, Kristi

Noem, Immigrations and Customs Enforcement, Todd Lyons, Department of Justice, Pamela

Bondi, Student and Exchange Visitor Program, Jim Hicks, Department of State, and Marco Rubio

(collectively, “Defendants”). Defendants, their agents, and anyone acting in concert or

participation with Defendants are hereby enjoined from: Implementing, instituting, maintaining,

enforcing, or giving force or effect to the June 4, 2025 Presidential Proclamation titled, “Enhancing

National Security by Addressing Risks at Harvard University.”

       In addition, for good cause shown and pursuant to Fed. R. Civ. P. 65(b)(2), the Court hereby

extends its May 23, 2025 temporary restraining order (ECF. No. 11) against implementation of the

Department of Homeland Security’s May 22, 2025 revocation of Harvard’s authority to sponsor F

and J non-immigrant visa holders. Harvard’s claims challenging that revocation are reasserted in


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Harvard’s Amended Complaint. The May 23 temporary restraining order is therefore extended

until June 20, 2025, or such earlier time as a preliminary injunction order can be issued.



       It is so ordered.

                                                             /s/
                                                             Allison D. Burroughs

                                                             United States District Judge




Date __________________




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